Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 1of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

No. 19 Civ. 9439 (PKC)

oe 6a oe

Plaintiff,

- against - ECF Case

a 88 oe

TELEGRAM GROUP INC. and TON ISSUER INC.,

Defendants.

xX

DECLARATION OF LADAN F. STEWART IN SUPPORT
OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

I, Ladan F. Stewart, pursuant to 28 U.S.C. § 1746, declare as follows:

1. | am a member of the bar of the State of New York and of the United States
District Court for the Southern District of New York. I am employed by Plaintiff Securities and
Exchange Commission (the “SEC”) in its New York Regional Office as Senior Counsel in the
Enforcement Division.

2. I have personal knowledge of the facts and circumstances of the case. As counsel
representing the SEC, I reviewed information and documents obtained by the SEC during its
investigation and litigation of this matter, including documents described herein, and information
provided to me by members of the SEC staff.

3. I am submitting this Declaration to put forth exhibits in support of the
SEC’s motion for summary judgment against Defendants Telegram Group Inc. and TON

Issuer Inc.
Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 2 of 8

4. Attached hereto are true and correct copies of the following documents or excerpts
thereof:
Exhibit Document Description Bates
PX1_ | Declaration of employee of Investor A N/A
Px2 Declaration of ie of Investor B N/A
PX3 | Declaration of employee of Investor C N/A
PX4_ | Declaration of employee of Investor D N/A
PX5__| Declaration of employee of Investor E N/A
PX6 | Declaration of employee of Investor F N/A
PX7 | Declaration of employee of Investor G N/A
PX8_ | Declaration of employee of Investor H N/A
PX9 | Expert Report of Maurice P. Herlihy N/A
PX10 | Expert Report of Patrick B. Doody N/A
PX11 | Expert Report of Carmen A. Taveras N/A
PX12 | Excerpts of deposition of P. Durov dated January 7 | N/A
and 8, 2020
PX13 | Excerpts of deposition of I. Perekopsky dated N/A
December 15, 2019
PX14_ | Excerpts of deposition of S. Parekh dated December | N/A
10, 2019
PX15_ | Excerpts of chats dated August 14, 2017 to April 6, TLGRM.-017-00000553, 559, 573,
2019 599
PX16 | Email chain dated January 16, 2018 TLGRM-011-00000038-41
PX17 | Chats dated January 24, 2018 TLGRM-015-000000077—79
PX18 | Company Background TLGRM-012-00015925—32
PX19 | Email chain dated May 3, 2018 TG-005-0010953

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 3 of 8

PX20 | Email chain dated May 3, 2018 TLGRM-006-00002973
PX21 | Email chain dated May 3, 2018 N/A
PX22 | Email chain dated May 7, 2018 TG-005-00009358
PX23 | Defendants’ Responses and Objections dated N/A
November 22, 2019
PX24 | Chats dated January 3 to February 2, 2018 N/A
PX25 Excerpts of chats dated December 2, 2017 and TG-007-00000310, 319, 320
January 20, 2018
PX26 | Email dated February 14, 2018 01800
PX27 | Email chain dated April 4, 2019 TLGRM-O01 1-00021894—95
PX28 | Email chain dated January 10-12, 2018 B- .000824—-25
PX29 | Email dated January 13, 2018 TLGRM-008-00000007
PX30 | Investment memo dated February 2018 B-00001-12
PX31_ | Investment memo dated January 2018 GR 03845-3849
PX32_ | Investment memo dated January 2018 ER 9000003-09
PX33 | Investment memo dated February 2018 Me 00001 1-15
PX34 Operating Agreement dated February 8, 2018 a) 000441-74
PX35 | Email chain dated November 9, 2018 N/A
PX36 | Email chain dated February 20, 2018 to May 9, TLGRM-008-000143 13-15
2018
PX37 | Chats dated January 17 to March 21, 2018 TG-007-00000726-3 1
PX38 | Email chain dated March 4-6, 2019 TLGRM-005-00004 191-93
PX39 | Email dated June 6, 2018 TLGRM-017-000001 68-69
PX40_ | Email chain dated January 19-21, 2018 TLGRM-007-00008832-—33
- Px4l Email chain dated July 9, 2019 SEC-SEC-E-0039227-39
PX42 | Email chain dated March 8-9, 2018 BMX-SEC-TGM-00000003

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 4 of 8

PX43 | Email chain dated November 2-22, 2018 Fite alld

PX44 | Presentation dated November 2018 COINBASE_TELEGRAM000003 1 1-
25

PX45_ | Email chain dated March 18, 2019 COINBASE_ TELEGRAM00000205

PX46 | Email chain dated September 16-17, 2019 COINBASE TELEGRAM00000292

PX47_ | Chats with various dates COINBASE_ TELEGRAM00000654—
60; 640-53; 632-36

PX48 | Blog post dated October 9, 2019 N/A

PX49 | Email chain dated September 5 to October 21, 2018 | TLGRM-008-0001643 1-32

PX50 | Notes dated March 19, 2019 SEC_AL000937-42

PX51_ | Email dated June 17, 2019 TLGRM-006-00008714

PX52 | Request and email chain dated September 27 to BTRX-NY-9820-0000065-67

October 2, 2019

PX53_ | Corporate account request dated August 14, 2019 BTRX-NY-9820-0000085-89

PX54 | Listing Form dated September 20, 2019 POLO000001-12

PX55_ | Email chain dated September 11-16, 2019 TLGRM-008-00022467-70

PX56 | Chats dated September 23 to October 2, 2019 N/A

PX57 | Chats dated February 8, 2018 TLGRM-015-00000957

PX58 | Email dated March 14, 2018 SEC -E-0000089

PX59 | Email chain dated April 5, 2018 Be 00182

PX60 | Email chain dated March 9-April 14, 2018 GB 6196-16208

PX61 | Email dated July 9, 2018 Be TON_0000712

PX62 | Email dated May 16, 2019 TLGRM-007-0007 1955-56

PX63 | Article dated August 19, 2019 N/A

PX64 | Email chain dated November 16, 2018 TLGRM-023-00000013

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 5of 8

PX65_ | Email chain dated November 16-27, 2018 TLGRM-023-00000076
PX66 | Email dated May 28, 2019 TLGRM-022-00000009
PX67 | Email dated May 28, 2019 TLGRM-022-00000001
PX68 | Email dated January 11, 2020 TLGRM-022-00000002—04
PX69 | Email dated June 12, 2019 GE TON _0004562-63
PX70 | Email dated June 11, 2019 Wa TON_0004557
PX71_ | Chats dated June 12-17, 2019 TLGRM-017-0000052 1-22
PX72 | Email chain dated May 23-July 7, 2019 TLGRM-007-0073538-39
PX73 | Submission by Telegram to SEC dated July 25, N/A
2019
PX74 | Chats dated August 19, 2019 MT ON_0006420-21
PX75_ | Email dated October 8, 2019 TLGRM-012-00016215—72
PX76 | Participation Agreement dated April 10, 2019 MB- 100836-852
PX77 | Memorandum dated March 23, 2019 ME 0008 15-835
PX78 | Email chain dated July 4, 2019 POLO000014-25
PX79 | Whitepaper dated March 28, 2018 N/A
PX80 | Web post dated November 15, 2017 N/A
PX81 | Email dated November 16, 2017 TLGRM-017-00000006
PX82 | Email dated November 17, 2017 TLGRM-017-00000009-10
PX83 | Email dated November 16, 2017 TLGRM-017-00000005
PX84 | Email chain dated November 16, 2017 TLGRM-017-00000007-8
PX85_ | Email chain dated November 16 to December 13, TLGRM-004-00000020—22
2017
PX86 | Email dated November 16, 2017 TLGRM-022-00000006
PX87 | Email chain dated January 5, 2018 TLGRM-022-00000005

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 6 of 8

PX88 | Email dated June 6, 2018 TLGRM-022-00000007—8

PX89 | Presentation ee -SEC-003 110-25

PX90 | Email chain dated August 13, 2019 and attachment | POLO000026-28

PX91_ | Notes dated October 7, 2019 SEC_AL000943-944

PX92 | Email dated November 13, 2018 and attachments TLGRM-017-00000285

PX93 | Presentation SEC-SEC-E-0038697—71 1

PX94 | Email chain dated June 17 to July 11, 2019 SEC _AL000107-110

PX95__| Email chain dated September 18-19, 2019 TLGRM-017-00000332

PX96 | Purchase Agreement dated September 27, 2018 TLGRM-007-00068702—3 1

PX97 | Purchase Agreement dated September 27, 2018 N/A

PX98 | Purchase Agreement dated March 19, 2018 N/A

PX99 | KYC Form N/A

PX100 | Commercial register dated February 12, 2019 BTRX-NY-9820-0000177

PX101 | Email chain dated March 19 to April 5, 2019 GR TON _0003995-99

PX102 | Email chain dated March 22 to April 7, 2019 GE TON _0004036-57

PX103 | Email chain dated July 17, 2019 SEC_AL000136

PX104 | Notes dated September 27, 2019 SEC_AL000945

PX105 | Email chain dated Junel7 to October 9, 2019 SEC_AL000276—80

PX106 | Email chain dated March 14, 2018 to August 14, TLGRM-008-00022363
2019

PX107 | Article dated September 10, 2019 N/A

PX108 | Article dated September 13, 2019 N/A

PX109 | Message dated September 15, 2019 Ge TON_0006431

PX110 | Email chain dated September 12-13, 2019 TLGRM-005-00005220-—21

PX111 | Email chain dated June 17 to October 9, 2019 SEC-AL000271-—75

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 7 of 8

PX112 | Agreement dated June 25, 2018 N/A

PX113 | Email chain dated May 24, 2019 with attachment TLGRM-012-00015883-97

PX114 | English language translation of attachment to TLGRM-012-00015885—97
PX113

PX115 | Record of bank account activity N/A

PX116 | Marketing brochure dated May 15, 2019 GF 0009821018

PX117 | Email chain dated June 22, 2018 with attachment GN TON _0008454-66

PX118 | Email dated February 20, 2018 with attachment TLGRM-012-0004585-88

PX119 | Email chain dated March 15, 2018 TLGRM-006-0009865-66

PX120 | Email chain dated September 29, 2018 TLGRM-008-00016181

PX121 | Email chain dated May 23-27, 2019 TLGRM-008-00022 180-81

PX122 | Email chain dated May 23-28, 2019 TLGRM-008-00022 182-83

PX123 | Email chain dated October 18, 2019 BH 000001-02

PX124 | Email chain dated April 4, 2019 TLGRM-011-0021894—95

PX125 | Article dated January 6, 2020 N/A

PX126 | Expert report of Stephen McKeon N/A

PX127 | Email dated January 24, 2019 TLGRM-026-00000201

PX128 | Email chain dated October 6-7, 2019 TLGRM-022-000000010

PX129 | Expert rebuttal report of Stephen McKeon N/A

PX130 | Chats dated September 23 to October 2, 2019 N/A

PX131 | Article dated May 2, 2018 N/A

PX132 | Email chain dated February 19 to July 6, 2019 TLGRM-007-00034450—53

PX133 | Chats dated March 18-20, 2018 TLGRM-015-00000509—10

PX134 | Chats dated April 6, 2018 TLGRM-015-00000527-29

PX135 | Chats dated April 17 to December 6, 2018 TLGRM-015-00000326—34

7

Case 1:19-cv-09439-PKC Document 122 Filed 01/29/20 Page 8 of 8

PX136 | Bank records TLGRM-014-0001208 1-142
PX137 | Indication of Interest HO 000623-28
PX138 | Agreement dated June 15, 2018 TLGRM-015-00001267—70

I declare under penalty of perjury that the foregoing is true and correct.

Laday F. Stewart /

Dated: New York, New York
January 15, 2020

